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                        UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

STEPHEN WOODARD,
     Plaintiff,
                                                  Case No. 8:10-cv-2878-T-26TBM
v.

ALLIED INTERSTATE, INC.,
     Defendant.
                                            /

                         NOTICE OF PENDING SETTLEMENT

       Plaintiff, STEPHEN WOODARD, by and through his undersigned counsel, hereby
submits this Notice of Pending Settlement and states that the parties have reached a verbal
settlement with regard to this case and are presently drafting, finalizing, and executing the
settlement and dismissal documents. Upon execution of the same, the parties will file the
appropriate dismissal documents with the Court.
                                           Respectfully submitted,

                                                  s/ G. Donald Golden
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing NOTICE OF
PENDING SETTLEMENT has been provided via regular U.S. mail, postage prepaid, or
electronically, to the following: on this 28th day of January , 2011.

Allied Interstate, Inc.
ATTN: Matthew Johnson, Esq.
Vice President, Legal
335 Madison Ave., 27th Floor
New York, NY 10017

                                          s/ G. Donald Golden
                                     G. DONALD GOLDEN, ESQUIRE
                                     JOSEPH B. BATTAGLIA, ESQUIRE
                                     DAVID S. BROMLEY, ESQUIRE
                                     THE GOLDEN LAW GROUP




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